         Case 2:19-cr-00045-RFB-NJK Document 70 Filed 11/03/21 Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     ADEN KEBEDE
 3   Assistant Federal Public Defender
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 4   Las Vegas, Nevada 89101
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 5   (702) 388-6261/Fax
     Aden_Kebede@fd.org
 6
 7   Attorney for Terry Luna

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:19-CR-045-RFB-NJK

12                  Plaintiff,                               STIPULATION TO CONTINUE
                                                               REVOCATION HEARING
13          v.
                                                                   (Second Request)
14   TERRY LUNA,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Daniel Clarkson, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and Aden
20   Kebede, Assistant Federal Public Defender, counsel for Terry Luna, that the Revocation
21   Hearing currently scheduled on November 4, 2021 at 9:00 am, be vacated and continued to a
22   date and time convenient to the Court, but no sooner than thirty (30) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Counsel has come to a resolution to recommend the defendant remain in custody
25   for three months with no additional supervision to follow and will defer to the Court to consider
26   time-served.
       Case 2:19-cr-00045-RFB-NJK Document 70 Filed 11/03/21 Page 2 of 3




 1        2.     The defendant is in custody and agrees with the need for the continuance.
 2        3.     The parties agree to the continuance.
 3        This is the second request for a continuance of the revocation hearing.
 4        DATED this 3 rd day of November, 2021.
 5
 6   RENE L. VALLADARES                            CHRISTOPHER CHIOU
     Federal Public Defender                       Acting United States Attorney
 7
 8      /s/ Aden Kebede                               /s/ Daniel Clarkson
     By_____________________________               By_____________________________
 9   ADEN KEBEDE                                   DANIEL CLARKSON
     Assistant Federal Public Defender             Assistant United States Attorney
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         Case 2:19-cr-00045-RFB-NJK Document 70 Filed 11/03/21 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:19-CR-045-RFB-NJK
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     TERRY LUNA,
 7
                   Defendant.
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 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for
11                                                               December 9, 2021 at the hour of
     November 4, 2021 at 9:00 a.m., be vacated and continued to ________________
12   ___:___
     10 00 __.m.;
             a    or to a time and date convenient to the court.

13                     3rd day of November, 2021.
            DATED this ___

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                                                RICHARD F. BOULWARE, II
16
                                                UNITED STATES DISTRICT JUDGE
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